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1 || COMP Transaction # 7901252 : yuii
j| CONNELL LAW
2 || Christopher S. Connell, Esq.
Nevada Bar No. 12720 .
3 || 6671 Las Vegas Bivd., Suite 210
4 || Las Vegas, NV 89119
(702) 266-6355; Fax: (702) 829-5930
5 s t :
6 | gens Tamarina Cournoyer
7 ( DISTRICT COURT
8 I. WASHOE COUNTY, NEVADA
9 ||; TAMARINA COURNOYER, individually, Case No.:
t. No.
10 | Plaintiff, ad
ny COMPLAINT
12 |], TARGET CORPORATION d/b/a TARGET
#2472; DOES I-X and ROE
13 |] -CORPORATIONS 1-X, inclusive,
14 Defendants,
15
16 . Plaintiff TAMARINA COURNOYER, by and through her attomey of record,
'7 | CHRISTOPHER S. CONNELL, ESQ. of the law firm CONNELL LAW, complains *
18
9 || Defendant TARGET CORPORATION d/b/a TARGET #2472 (hereinafter the “Defendant") 2
20 || follows!
21 PARTIES
22 1. ‘That Plaintiff TAMARINA COURNOYER (hereinafter “Plaintiff”) is and, at oll time
23 mentioned herein, was a resident of the County of Clark, State of Nevada,
24
25 2. The Defendant, TARGET CORPORATION d/b/a TARGET #2472 owned and operat
26 that certain business by virtue of the laws of the State of Nevada and at the time of thi
27 incident in question was the property owner of the premises located at 1550 E.:Lincol
28 Way, Sparks in the County of Washoe, State of Nevada.
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*

    
  
  
   

‘That the true names and capacities of the Defendants designated herein as DOES !-X and/o1

 

 

 
  
  

 

 

 

 

1,
2 ROE CORPORATIONS I-X are presently unknown'to Plaintiff at this time, who therefore
3 sues said Defendants by such fictitious names. When the true names and capacities of these
4 Defendants arc ascertained, Plaintiff will amend this Complaint accordingly. |
5
6 ; That af all times pertinent, Defendants were agents, servants, employees, or joint vénturers
7 of every other Defendant herein and, at all times mentioned herein, were acting within
i
8 scope and course of said agency, employment, or joint venture with knowledge, permissiai
9 and consent of all other nemed Defendants. |
10 ‘
JURISDICTION ‘
u i
” All of the acts giving rise to the instant action occurred in the State of Nevada, County ol ‘
‘ 13 Washoe.
14 The amount in controversy, represented by actual damages caused to Plaintiff, sal
bi $15,000.
16 : a
E: s MW
7 | ee hae :
18 7. On or about June 13, 2018, Plaintiff TAMARINA COURNOYER, was a guest -
19 business invitee on the premises of Defendants when she slipped and fell es a result of
20 | foreign debris or substance on the floor of the premises.
2111 3 It was the duty of Defendants and each of them, to use ordinary dus care and diligence to kei
22
2 and maintain the premises in a condition reasonably safe for its intended guests and busing '
4 invitees and to keep said premises free from all conditions which would render it dangero
25 and unsafe for Plaintiff or present an unreasonable risk of harm to her in her lawful use of th
26 same.
27
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| Page 2 0f 5 ;
I ye
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27

6018-2020.

15, Plaintiff incorporates paragraphs 1 through 14 of the Complaint as though said paragrophia
16, Defendants owed Plaintiff a duty of care to wam Plaintiff of the non-obvious Dangerous

17. Defendants breached this duty of care by failing to place adequate caution signs, af

U

It was the duty of Defendants and each of them, to exercise reasonable care to protect Pisinfl
from the danger of reasonably foreseeable injury occurring from her reasonable foreseeable
use of the premises,

It was the duty of the aforesaid Defendants, and each of them, to have available sufficjent
numbers of personnel and equipment, sufficiently trained to properly inspect and maintain
aforesaid premises in a condition reasonably safe for Plaintiff and free from debris and ity
foreign substance and conditions rendering it unsafe.

It was the duty of the aforesaid Defendants, and each of them, to wam Plaintiff of thd

 

  
  
 

dangerous and unsafe conditions rendering it unsafe,
The fall and resulting injuries of Plaintiff were proximately caused by the negligence off
Defendants, and each of them.
Defendant breached its duties of reasonable and ordinary care to Plaintiff and to others.
Defendant was directly responsible for each and every act of said agents, servants an
employees, who were acting within the course and scope of their employment and for
bencfit of TARGET CORPORTION d/b/af TARGET #2472.

-FIRST CAUSE OF ACTION

(Negiiasinge):

were fully set forth herein.
Condition.

otherwise failing to wam Plaintiffs of the dangerous, non-obvious condition.

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1 18, Defendonts' negligence directly and proximately caused Plaintiffs serious injury
2 19. As adirect and proximate result of Defendants’ negligence, Plaintiff received medical
3 other treatments for injuries sustained to body, limbs, ongans and nervous systems, all o
am || some of which conditions may be permanent and disabling and, all to Plaintiff! damage i
: It a sum in excess of $15,000,
7 20. That said medical treatment is continuing and is likely to continus in the future.
8 21. Upon information or good faith belief, Defendants did not provide adequate training for itg i
9 employees.
10 22. Upon information or good faith belief, Defendants hired persons who were not sufficiently)
i trained to ensure patrons safety.
13 23..Upon information or good faith belief, many patrons have been injured due to similag
4 circumstances.
bs 24, Upon information or good faith belief, spills of liquids on the floor occur on a frequent
‘ basis at this Property.
18 | 25.-Upon information or good faith belief, Defendants were on notice of frequent spills of
19 liquids in the locale where the incident occurred.
20 26. As a direct and proximate result of Defendants’ negligence, Plaintiffs have been required
au || ___ toni has limited certain occupational ad recreational activites, which has caused, on
. is likely to continue to cause loss of eaming capacity, Jost wages, and loss of enjoyment i '
4 life. ‘ .
25 27. Plaintiffs have been required to engage the services of an attorney, incurring attomey's fee
26 and costs to bring this action.
Ta
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‘ - Page 4 of 5 |
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t
f
1 PRAYER FOR RELIEF
2 WHEREFORE, Plaintiff TAMARINA COURNOYER, expresaly reserving the right fq
3 |] amend this complaint prior to or at the time of trial of this action to insert those iterns of damnag
4 not yet fully ascertainable, pmys for judgment against all Defendants, and each of them, as follows,
3}
é | | 1. For general damages sustained by Plaintiff in an amount in excess of $15,000.00;
: {
7 2. For special damages sustained by Plaintiff in an amount in excess of $15,000.00;
i
& ii 3. For reasonable attomey’s fees and costs;
9 4, For interest at the statutory rate; and
10
| §. For such other relief as the Court deems just and proper. \ f
i ' I
12 DATED this Ist day of June 2020. §
13:
Ms Christopher 5. Coe Il, Esq.
er §, Conne'
15 | Nevada Bar No. 12720
| 66711 Las Vi Blvd. Suite 210
- sas
"7 { (02) 355; Ea 702 829-5930
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|| Bled in case number:

 

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SECOND JUDICIAL DISTRICT COURT
COUNTY OF WASHOE, STATE OF NEVADA

AFFIRMATION
Pursuant to NRS 2398.030 and 603.040

The undersigned does hereby affirm that the preceding document, —

COMPLAINT

Page 9 of 9

 

(Title of Document)

 

 

| | X | Document does net contain the personal Information of any person

 

-OR-

 

Document contains the social security number of a person as required by:

 

 

 

 

A specific state or fedaral law, to wit:

 

 

 

 

(Glate specific etale or federal law)

-Or-

 

For the administration of a public program

 

-or~

 

For an application for a federal or state grant

 

-ore-

Confidential Family Court Information Sheet
- (NRS 123.130, NRS 125.230, and NR& 125B.055)

 

 

 

 

“Date: 6/1/20 és/ Christopher §. Connell

' (Signature)

Christopher 5. Connell, Esq.
(Print Name)

Plaintiff
(Attomey for)

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